10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

Patrick Mcl\/lahcn, WSBA #18809
Attorney for Defendants

Carlson & McMahon, PLLC

37 South Wenatchee Avenue, Suite F
P.O. Box 2965

Wenatchee, WA 98807-2965
509-662-6131

509-663-0679 Facsimile

patm@carlscn-mcmahon.org

JOSHUA BRENT STULLER,
individually and on behalf cf all others
similarly situated,

Plaintiff,
vs.

CHELAN COUNTY, WASHINGTON;
BILL LARSEN, in his official capacity as
lnterim Director of the Chelan County
Regional Justice Center; LESLIE
CARLSON, in her Ofiicial capacity as the
Chelan County Regional Justice Center
Mental Health Manager, and their officers,
agents, employees, and successors,

Defendants.

 

 

DECLARATION OF PATRICK MCMAHON
Page l

 

Case 2:18-CV-00178-R|\/|P ECF No. 16 filed 10/04/18 Page|D.lSQ Page 1 of 24

THE HONORABLE ROSANNA MALOUF PETERSON

NOVEMBER 4, 2018, 6:30 P.M.
WITHOUT ORAL ARGUMENT

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

NO. 2:18-cv-00178-RMP

DECLARATION OF PATRICK
MCMAHON

Carlson & MCMahOn, PLLC
37 South Wenatchee Ave. 3[“F1001', Ste. F

Post Office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

 

Case 2:18-CV-00178-R|\/|P ECF No. 16 filed 10/04/18 Page|D.14O Page 2 of 24

1, Patrick Mcl\/lahon, declare pursuant to the penalty of perjury that the
foregoing is true and correct:

1. 1 am licensed to practice law in the Eastern District Federal Court
and in the State of Washington.

2. The information contained in my Declaration is based on my
personal knowledge and 1 am competent to testify to the matters set forth herein.

3. 1 am the Attorney for the Defendants in the above-referenced
matter. 1 make this Declaration based on personal knowledge and am
competent to be a Witness herein.

4. Attached hereto as EXhibit No. 1 is a true and correct copy of the
Second Amended lnformation filed on October 26, 2016.

5. Attached hereto as Exhibit No. 2 is a true and correct copy of the
Affidavit for Search Warrant dated on October 12, 2015.

6. Attached hereto as Exhibit No. 3 is a true and correct copy of the
Forensic Psychological EXamination by Dr. Kenneth Muscatel, Ph.D. dated
October 10, 2016.

7. Attached hereto as EXhibit No. 4 is a true and correct copy of the

Judgment and Order for Acquittal by Reason of lnsanity filed on October 28, 2016.

Carlson & McMahon PLLC
DECLARATION OF PATRICK MCMAHON 37 South Wenatchee Ave. 3“‘F,`100r, Ste. F

Page 2 Post office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

 

Case 2:18-CV-00178-Rl\/|P ECF No. 16 filed 10/04/18 Page|D.141 Page 3 of 24

8. Attached hereto as Exhibit No. 5 is a true and correct copy of the

Order for Conditional Release filed on December 19, 2017.

RESPECTFULLY sUBMITTED THls aim day of oCToBER, 2018.
CARLsoN & MCMAHoN, PLLC

By /s/ Patrick l\/lcl\/lahon
PATRICK MCMAHON, WSBA #18809
Attorney for Defendants

37 South Wenatchee Avenue, Suite F
P.O. BoX 2965

Wenatchee, WA 98807-2965
509-662-6131

509-663-0679 Facsimile
patm@carlson-mcmahon.org

WCRPO5-02450\PLE Federal\DEC PM-100418

Carlson & McMahon PLLC
DECLARATION OF PATRlCK MCMAHON 37 South Wenatchee Ave. 3‘“1§`1001, Ste. F

Page 3 Posr Oche Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

 

Case 2:18-CV-00178-Rl\/|P ECF No. 16 filed 10/04/18 Page|D.142 Page 4 of 24

CERTIFICATION OF SERVICE

1 declare under penalty of perjury under the laws of the State of
Washington that on October 4, 2018, 1 electronically filed the foregoing with the
Clerk of the Court for the United States District Court for the Eastern District of
Washington using the CM/ECF system which will send notification of such filing
to:

Andrew S. Biviano abiviano@pt-law.com
Breean L. Beggs bb§gg§@pt_-law._€_€)_rr_l
Mary Elizabeth Dillon bd_illorw__@pt-_l_a_w_._c_om

And 1 certify that 1 have mailed by United States Postal Service the
foregoing to the following non CM/ECF participants:

Signed at Wenatchee, Washington on October 4, 2018.

/s/ Patrick Mcl\/lahon
PATRICK MCMAHON, WSBA #18809

Carlson & McMahon PLLC
DECLARATION OF PATRICK MCMAHON 37 South Wenatchee Ave. Srdl’i`loor, Ste. F

Page 4 Post office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

113

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Case 2:18-CV-00178-Rl\/|P ECF No. 16 filed 10/04/18 g Page|D.143 Page 5 of 24

'\~../‘ `\/ l=iLEo
mm monmsou
oct 26 2016
cH\=.LAN coon-rv ci.ERK

lN Tl-lE SUPERlOR COURT OF THE STATE OF WASHlNGTON
¥l\l AND FOR THE COUNTY OF CHELAN

STATE OF WASHlNGTON,

No. 15~1~00€»91-7
Plainfiff,

SECOND AMENDED lNFORl\flATlON
vS.

JOSHUA B. STULLER,
DOB: 10!1‘1!1988
SEX: l\!lALE

SlD:

FE’»l:

Defendeht.

 

 

 

 

 

TO:

Joshua B. Stuller
1419 Orchard Avenue
Wenafchee, WA 98601

COMES NOW, Dougias J. Shae, Prosecuting Attorney for the Couhty of Chelah, State of

Washington, and by this information accuses Joehue B_ Stuller of the crime(s) of FELONY

HARASSMENT {7 COUNTS), committed as follows, to~Wit:

Count l ~ Felony Harassrnent

That the said JOSHUA B. STULLER in the County of Chelen, State of Washingt'oh, on or

about October “l O, 2015, knowingly and Wifhout lawful authorify, did threaten to cause bodily injury

immediately or in the future to the person threatened or to any other person and the Words or

SECQ`ND AMENDED lNFORMATlGN -1 - DOUGLAS ..l. SHAE

CH ELAN COU NTY
F‘ROSECUT|NG ATTORNEY

401 Washir)gton Stre&t, 5tl'i Floor
P.O. Box 2596
Wenafd’l€e, WA 938€37
E X H IBIT (50§) 657-6202

 

 

 

 

itt

ii

12

13

14

15

17

18

19

20

21

22

23

24

25

 

 

Case 2:18-CV-00178-Rl\/|P ECF No. 16 filed 10/04/18 P/_age|D.144 Page 6 of 24

conduct did place said person in reasonebie tear that the threat Wouid be carried out, and the
defendant threatened to kill the person threatened or any other pereon, to~Wit: Lee l~ierring;
contrary to the form otthe statute RC\{\! 9A.46,020(“l)(a){i) and (b) and (2)(%))(§§), and against the

peace and dignity of the State ot Washington.

That the maximum penalty for the above crime is 5 years in prison and!or a $10,600 fine

Count ll - Felony Harassment
That the said JOSHUA B. STULLER in the County of Chelan, State of Waehington, on or
about October 10, 2015, knowingly and Without lawful authority, did threaten to cause bodily injury
immediately or in the future to the person threatened or to any other pereon, and the Worde or
conduct did place said person in reasonable tear that the threat Woutd be carried out, and the
defendant threatened to kiil the person threatened or any other pereon, to~\ivit: Dei Herring;
contrary to the form of the statute RCW 9A.46,020(i ){a){i) and (i:)) and {Z)Cb)(ii), and against the

peace and dignity of the State ofi!\faehington.

That the maximum pena!ty for the above crime is 5 years in prison and/or a 61 0,000 tine,

Count ill »- Felony Harassment

That the said JOSHUA B. STULLER iri the County of Gheian, State ot Waehington, on or
about October 1th 2015, knowingly and Without ianrfoi authority, did threaten to cause bodily injury
immediately or in the future to the person threatened or to any other nerz=son1 and the Worde or
conduct did place said person in reasonable fear that the threat would be carried out, and the

SECOND AMENDEB iNFORi\liATiON *2- cousins J, sHAE
coated county

PROSECUT!NG ATTORNEY
491 Washingtcn Street dirt Fioor
P.G. Box 2596
Wenatchee, WA §BBO“!
rader eer-ezoz

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Case 2:18-CV-00178-RMP ECF No. 16 filed 10/04/18 jage|D.145 Page 7 of 24
x\/ .

defendant threatened to kill the person threatened or any other person, to-Wit: Melissa Katerine
Bohart; contrary to the form of the statute RCW 9A_46.020(1)(a)(i) and (h) and (2)(h)(ii), and

against the peace and dignity of the State of Washington.
That the maximum penaity for the above crime is 5 years in prison andlor a $10,000 fine

Count !V - Felony Harasement
That the said JOSHUA B. STULLER in the County ot Cheian, State of Washington, on or
about October 10, 2015, knowingly and Without lawful authority, did threaten to cause bodily injury
immediately or in the future to the person threatened or to any other person, and the Words or
conduct did place said person in reasonaoie fear that the threat Wouid he carried out, end the
defendant threatened to lott the person threatened or any other person to-wit; Jolene Bal<er;
contrary to the form of the statute RCW 9A146,020(1}(a)(i) and (h) and (2)(h)(ii), and against the

peace and:d§gnity of the State ot Washington.
“i‘hat the maximum penalty for the above crime is 5 years in prison and/or a 1510,000 fine.

Count V ~ Felony Harassment
That the said JOSHUA B. STULLER in the County of Chelan, State of Washington, on or
about Cotoher 10, 2015, knowingly and Without lawful authorityf did threaten to cause bodily injury
immediately or in the future to the person threatened or to any other person, and the Words or
conduct did piece said person in reasonable tear that the threat Would he carried out, and the
defendant threatened to kill the person threatened or any other person, to~Wit: Dane Lewman;

SECOND AMENDED iNFCRMATiON -3- DGUGLAS J. SHAE
CHELAN COUNTY
PRC)SECUTING ATroRNEV
401 Washington Szreet, oth Fioor
P.O. Bo>r 2596
Wenatcheet WA 96507
(569) ee'r-ozoz

 

'lO

’li

12

13

ill

15

16

“l?

18

19

20

21

22

23

24

25

 

 

Case 2:18-cV-00178-Rl\/lP ECF No. 16 filed 10/04/18 ` PagelD.146 Page 8 of 24
\..../ `\“‘/1

contrary to they form of the statute RCW 9A.46.02t)(t)(a)(i) and (b} and (2)(l:))[ii), and against the

peace and dignity cf the State of Washington.
That the maximum penalty for the above crime is 5 years in prison andior a $10,000 tine.

Count Vi - Feiony Harassment
That the said JOSHUA B. STULLER in the County ot Chslan, State of Washington, on or
about October 10, 2015, knowingly and Without iawiul authority did threaten to cause bodily injury
immediately or in the future to the person threatened or to any other person, and the Words or
conduct did place said person in reasonable fear that the threat Wouid be carried out, and the
defendant threatened to kill the person threatened or any other person, to~Wit: Kristy Flores;
contrary to the form of the statute RC\N 9A.46.020(t)(a)(i) and (i:)) and (2)(h)(ii), and against the

peace and dignity of the State ot Washington.

That the maximum penalty for the above crime is 5 years in prison and!or a $10,000 fine.

Count Vll - Felony Harassment
That the said JOSHUA B, STU!_LER in the County of Chelan, State of Washington, on or

about October 10, 2015, knowingly and Without lawful authority, did threaten to cause bodily injury

immediately or in the future to the person threatened or to any other person, and the Words or
conduct did place said person in reasonable fear that the threat Would he carried out, and the
defendant threatened to kill the person threatened or any other personx to-Wit: Jared lylcCuloi)in;
contrary to the form of the statute RGW 9A.46.020(t)(a)(i) and (io) and (2)(l))(ii), and against the

SECOND AMENDED iNi'~'ORiVlATlON ~4- oouei_As tr sHAl,=,
cl-iELAN correr

pRoSECuTiNe ATYDRNEY
401 Wasi'lington Strset, oth Fioor
P.Ot Box 2596
Wenatchee. WA 9380?
repay ssr~szoz

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

Case 2:18-CV-00178-RMP ECF No. 16 filed 10/04/18 jage|D.lM Page 9 of 24
\._../ \"

peace and dignity of the State of Washington,

That the maximum penaity for the above crime §s 5 years in priéon and/or a $“I0,000 fine,

DATED at Werzatchee, Washington this 26th day of October, 2016.

Dougla$ J. Shae
Prosecuting Attorney

 

SECC}ND AN]ENDED |NFORNU\TION '5- DOUGLAS J. SHAE
CHELAN COUNTY

PROSECUT\NG ATTCRNE‘{
401Washington Sireet, Sth Fioor
P.G. Box QBQG
Wenatchee. WA BBBU?
(509) 657-5202

 

 

CaSe 22fl_€i-CV-OOZ|_?S-R|l\/|`.F:J1 ECF NO. 16 filed 10/04/18 P@§|D.l£,$ Page 10 Of 24

SUPERIOR CDURT FOR CHELAN C{)UNTY

 

STA’IE OF WASHll\lGTON) No. 15Wl4356
) AFF[DAVIT FOR SEARCH WARRANT

COUNTY OF CHELAN )

 

'l`he undersigned on oath states:

I am Seth J. Buhler, a Police Oii'icer with the Wenatchee Police Departinent
'l`hat affiant states:
(XX) Evidence of a crime: Atternpt to commit murder l and Stalking.

(XX) Cont.raband, and indicia, the fruits of the crime or things otherwise criminally
possessed consisting of but not limited to: Firearms handguns rifles shotguns
arnrminition9 gun sales bolsters magazines and other firearms accessories cell phones
computers other electronic devices and documents related to the incident

{XX) Certain Premises: Washington license AMZZZSS, a 2006 Ford Fusion, maroon in
color, 4-dr, Vehicle identification number BFAHPOSBGRZE 6765, registered to .loshua
Brent Stuller. 1419 Orchard St, is a single level residence that is blue in color oath White
trim. lt has the numbers 1419 afEXed to the right door Which faces north To the back of
the property is a detached apartment that is also a pool house The pool house iS also
blue in color With White nim. lt has a front door that faces east. The pool
house/apartment is the residence of Joshua Stuller to be searched

The affiant’s belief is based upon the following facts and circumstances:

Training and Experience:

l Seth 5 Buhler your afi`iant, have been a police oflicer With the Wenatchee Police
Dcpartment for ScVen years. l am currently Worlo'ng as a detective Prior to that l Was a
police officer Wii:h the Bakersiield Police Deparm:ient m Bal<ers:&elcl CA for six and a
half years; l successfully completed the California Commission on Peace Ofilcer
Standard and Training”s Basic Law Enforcement Academy; a course of instruction
consisting of 800 hours of training in all aspects ot` basic law eirforcernentl 1 have also
completed the Washington State Criminal .lustice 'l`rainjng Cornroission’s law
Eni`orcement Equivalency Acaclerny in Burien WA. This course of instruction consisted
of 80 hours of familiarization With Washington State laws and criminal procedures. ln
addition, lhave completed courses int Street Gang Training, Narcotics Enforcenicnt
Training, Fielcl 'I`raining Ofiicer, Domestic Violence Training and Anti-Terrorisni
Training. in Bakersielcl l served in the criminal street gang investigation division and
Was a Field Training ,Ofiicer. l am currently a member of the Chelan County regional

Page 1 of4' “
_ EXHIBIT 2

CaSe 2218-CV-OOl78-R`|\\/_|_|:’ ECF NO. 16 filed 10/04/18 PP€|D.JAQ Page 11 Of 24

SWAT team and am a Poliee Training Officer for the Wenatchee Police Department. l
hold a Bachelor of Arts degree in History With a minor in Econornics. in my thirteen
years of Work as commissioned law enforcement officer, Ihave investigated numerous
felony and misdemeanor crimes l have also Written and assisted in the Service of
multiple search Warrants.

Probable Cause Narrative:

On 10/11/15, at approximately 1520 hours, I responded to 1419 Grchard St for a
harassment threats to kill investigation

According to Stuller's family, he has a history of suicidal thoughts and statements as Well
as possible paranoia schizophrenia

Stuller made a comment to his brother at a family birthday party on 101 lO/l 5 about
loving him forever and if he Was dead he would still be with his brother and his brother
Would go on. Other behavior including intoxication displayed by Stuller Wonied the
family as to his condition

On 10/11»}15, Stuller’s step &ther, Lance Lerning, decided to search the detached
poolhouse where Stuller lives at 1419 Orchard St. He heard from his mother, Anne
Leming Who owns the residence Stuller had a shotgun inside after Stuller had agreed not
to keep any firearms While living there

Lance entered and found multiple empty bottles of vcdl¢;a and a loaded Tokarev handgun
under the cushion of a chain lie also found black boots, black gloves, a black hat a
black vest that holds magazines for firearms and a black full face ski mask out on the
kitchen table Next to this Was a grocery bag oath multiple empty magazines to an ¢"zll<l~~v
47 type rifle

Found throughout the apartment were boxes of annnmiition and ammunition cans
containing ammunition in calibers for 7.62X39rn1n, 7.62x24rnrn Tol~;arey and .40 S&W

and various shotgun rounds

On the counter between the kitchen and the living room, Lance found 5 pieces of yellow
notepad paper folded up. lie unfolded the papers and found Writing on it. lie said Was in
Stuller's handwriting

The paper had a list of ammunition rounds for a Kalashinil<ov rifle for 310 rounds full
metal jacket, a Tolrarev pistol With lS rounds full metal jacket and for a Glock 22 pistol
width 60 rounds hollow point This list coincides with the ammunition found in the
apartment

Page 2 of 4

CaSe 2218-CV-OOl78-RY5 ECF NO. 16 filed 10/04/18 PY€|D.J_BO Page 12 Of 24

There is also so address listed for 408 Sth St, Whieh is the address of Herring and
Associetes lne, with a phone number and hours of business The paper then lists,
"COMMUNISTS" with the names of

Lee Herring

Del Herring
Melissa Bohart
lolene Baker '
Dane Lewman
Kristy Flores
fared McCubbin

These are all employees or former employees of Herring and Assoeiates.

Lee, Melissa, lolene, Dane and Kristy all have an asterisk next to their name The list
shows that the asterislc stands for “9:30~10:45 am high prohle targets likely in oftice". lt
also lists that there are 2~3 maintenance Worl<:ers, With the Word, “ldll" next to them. The
list goes on With a description of multiple vehicles Which most likely belong to the same
employees including a black GMC Yukon, Whieh l\/lelissa is known to drive

'l`hen there is a double asterisk With “l\/UNIMIZE CIVILLAN CASUALTIES", followed
by "XZ pump action shotguns-1 l rounds buckshot“.

The next tour pages go on about annoyanee, anger, rage, vengeance and an apparent list
of problems Stu]ler is suffering horn

The papers also state, "lhe social impact of roy retribution Will no doubt lead to being
labeled a lunatic Who exploited my rights guaranteed to roe by the an Amendment.
They Will blame all gun omers, and the NRA for the actions of one lone Soldier, labeling
the NRA and Arnerican gun owners as montana in their totality rather than singling out
the criminal elements udtbin it, such as myself." lt also says, ".lust understand that l have
been suffering more than any ot` roy victims Will suffer".

Next to the notebook papers Were three business cards from Herring and associates

An AK-47 rifle and a pump shotgun Were retrieved from Stuller’s other grandparent’s
house at 199 Broolrside Wy. in Wenatehee, where they Were stored by Stuller.

The papers Were obviously a list of Herring and Associates employees to be killed by
Stuller Who Was obviously planning to carry out an active shooter type of incident 'Ihe
fact that Stuller had the list of names as Well as listing to kill the maintenance Workers
shows Who his targets Were. The fact that Stuller had a list of vehicles associated with
the Herring and Assoeiates employees shows he has been stall§ing the employees as Well
at the business Where they Worl§. in orderto know What times they Would be there rl'he
black clothing with ski mask and ammunition vest as Well as the ammunition and loaded

Page 3 of 4

CaSe~ZZlS-CV-OOl?S-R\|§/|;F/’ ECF NO. 16 filed 10/04/18 PY€|D.J_BJ_ Page 13 Of 24

pistol and the AK- 47 and shotgun that Were retrieved, shots Stoller s intent on carrying
out a pian for murder.

ln speaking with Stuller' s mother she said Stnller had previously lived in an aparnnent
that Was under the supervision and control of Herring and Associates She said Stuller
once told her that Lee Hening’ s voice Was stuck in his head and Was telling him terrible
things and he Was unabie to get it out

On 2/23/15, at approximately 0908 hours_, Stuller had entered Hen'ing and Associates at
408 5th St and took photographs of the l:oo,si_ness2 offices and haliway With a cell phone
before tiipping off .lolene Baker and Melissa Bohart, Who called the incident in to Police
(15W02497) Stuller fled the scene and was contacted by Ofiicets Melissa knew it Was
Stuller as he Was currently at that time a renter at one of their locations (11l6 1st St..)

Probable cause exists for the arrest of Stuile:r for 7 counts of conspiracy to commit
murder 1 and 7' counts of stalking for the 7 names of the Herring and Associates

' employees Who Were Written on Stuller's hit list
l believe that upon serving this search Warrant on the listed vehicle as Well as on Stuller’s

residence, further evidence of the above listed crimes wilt be located

l certify under penalty of peljtn'y that the foregonlg statement is true and correct to the
best of my l<nowiedge and belief

Swol'n and Subscribed on: MM/{£M W/%
ibt itt Za/zél// saw 4%' M\/

Date &"i` ime Affiant

I///{ 1 l ua$é;… 1§eth Burfhl§ng(c)f;icer, WPD
§7%7 14 £//M/ ame, 1 e genc‘_vr

 

Page 4 of 4

CaSe 2218-CV-00178-R|\/|P ECF NO. 16 filed 10/04/18 Page|D.152 Page 14 Of 24

EXhibit 3 is a Forensic Psyohological Evaluation by Dr. Kenneth Muscatel,

Ph.D. dated October lO, 2016, pending Motion to Seal.

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

_Fn_Eo §?
UCT' 2 8 2016z

Kl M
Che|aii‘Co?.iT!;°S|¢rk

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF CHELAN

STATE OF WASHINGTON, ) 15-1-00691-7
Plainarf, )
VS. ) JUDG .MENT AND ORDER FOR
) ACQUITTAL BY REASON OF
JOSHUA B. STULLER, ) INSANITY
Defendant, ) /
) _> QAKA.

 

This matter having come on for hearing this 28th day of October, 2016, on the
defendant’s motion for judgment cf Acquittal by Reason of Insanity pursuant to RCW
10.77.080, and the defendant being present in person and represented by counsel, Keith W.
Howard, and the plaintiff being represented by Douglas Shac, Prosecuting Attorney for the
County of Chelan.

The court having read and considered the Written report of Kenneth Muscatel PhD.,
along With the files and records herein supporting the crimes of Felony Harassment-Seven
Counts; The defendant Waived reading of the Information charging the defendant With the
crimes of Felony Harassment-Seven Counts; The defendant Was advised by the court of all

cf his constitutional rights including his right to plead cr answer to the Information, his

JUDGEMENT AND 0RDER FoR COUNSEL FOR DEFENSE
ACQUITTAL BY REASON oF INSANITY Of Ch€lan COunty
115 S. Chelan

Wenatchee, WA 98801
(509) 663-2444

EXHIBIT

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 2218-CV-00178-R|\/|P ECF NO. 16 filed 10/04/18 Page|D.154 Page 16 0124

right to trial by jury, to be confronted by the Witnesses against him and to call witnesses on his
own behalf, to testify or not to testify in hisown behalf as he chose, and of his right to
counsel.. Asked if he was ready to plead to the Information, the defendant stated that he was
and entered a plea of Not Guilty by Reason of Insanity to the crimes of Felony Harassment-
Seven Counts as charged in the 2”d Amended lnformation. Now, Therefore,

IT lS HEREBY ORDERED, ADJUDGED AND DECREED that the defendant,
Joshua B. Stuller is hereby acquitted of the crimes of Felony Harassment-Seven Counts by
reason of insanity These crimes are Class C Felonies which carry a maximum sentence of 5
years. The defendant will receive credit for time served as calculated by the Chelan County
Regional Justice Center Who shall provide that information to Eastern State Hospital. The
maximum possible release date has therefore been computed to be October ll, 2020.

lT IS FURTHER ORDERED, ADIUDGED AND DECREED that the defendant,
Joshua B. Stuller is a substantial danger to himself or others or presents a substantial
likelihood of committing felonious acts jeopardizing the public Safety or security based upon
a mental disease or defect and is in need of control by the Court or other persons or
institutions and therefore is hereby committed to the custody of the Secretary of the
Department of Social and Health Services at Eastern State Hospital, pursuant to RCW 10.77
for medical and psychiatric treatment as directed by the Department of Social and Health
Services, and that the Sheriff of Chelan County, Washing‘ton, is hereby ordered to deliver
defendant to the custody of the Superintendcnt at Eastern State Hospital.

lT IS FURTHER ORDERED, ADJUDGED AND DECREED that the defendant,

Joshua B. Stuller, shall remain at Eastern State Hospital or such other facility as the Secretary

JUDGEMENT AND oRDER FoR COUNSEL FOR DEFENSE
ACQUITTAL BY REAsoN oF INsANITY of Chelan County
ll5 S. Chelan

Wenatchee, WA 9880l
(509) 663-2444

CaSe 2218-CV-00178-R|\/|P ECF NO. 16 filed 10/04/18 Page|D.155 Page 17 0124

10`

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

shall designate subject only to further proceedings of this court for conditional release and/or

7,1> ,,W‘ C,¢e Cé_'?.~@s¢¢.:por`¢ q§'¢-€>
fake/arn 6 /o.n »&=¢44 re r`elce:><.- .
,2016.

final discharge

Dated this % /day of §§ lz z%/

1///¢ //
JC\:)H§I§@Z?§;!§:HM Court for the

 

Approved as to form for entry this 2 </

Ke'{rh w. noward, wsBA # 19226
Attorney for Defendant

JUDGEMENT AND oRDER FoR COUNSEL FOR DEFENSE
ACQUITTAL BY REASoN oF INSANITY of Chelan County
115 S. Chelan

Wenatchee, WA 98801
(509) 663-2444

~.CaSe 2218-CV-00178-R|\/|F’ jECF NO. 16 filed 10/04/18 Page|l;).156 Page 18 Of 24

§

pa

MMM{\) wr-»»-*\-»»--lw»-A--n»-»l»-¢
S’\U-e~mm~gxom~¢mw»u)_w»-o

\OQQ‘~\Q\LH¢¥>WN

\..,/ \.,..../

FlLEo/:S
DEC 1 9 2811 /\

Kim l\rlorrison
Chelan County Clerk

m ran sUPERloR collar or rita stare or WASHD\IGTGN
INAND roman coUN'IY or sPoKANE ` -

stare or WASHINGT<)N, _ No. .15-1-0069:~7
slander ` 0RDERF0RC0NDH10NALRELEASE
VS. b
JosHuA sruLLeR,
1 Defendant_

 

 

 

THIS MA'I'I`ER having come before the Court upon the petition of Eastem State Hcspital

for an Order of Conditional Releese of the Defendant Joshua Stuller.

THE COURT HEREBY ENI`ERS 'I`HE FINDING OF FACI` AND CONCLUSION .

OF LAW that loshua Stuller is not a substantial danger to other persons nor does he present a
substantial likelihood of committing criminal acts jeopardizing public safety or security asking as

the conditions of release set-forth fin this order are followed

NO`W, THEREFORE IT IS HEREBY ORDERED, ADJUI)GED AND DECREED

that Joshua ,Stuller lie-conditionally released for the remainder of his commitment period subject to
me successful common or the PARTIAL connmoNAL RELEASE, coNDmoNs or
RELEASE as set forth below,' and subject to the TREA'I'IVIENI` TEAM RECOMNDATIONS
FGR CONDII`IONAl_/LESS RESTRICTWB RELEASE attached hereto and incorporated by

reference herein

CDNDITIONAL R.EI,EASE 1 Ar'roRNEY summit 01= wasamerou

ll 56 Wm Rivaside Avcnue. Suite §G'I)
Spol<aae, WA 99281.1105
(509) 456-3123

~ E;n»nnir 5 »

 

CaSe 2218-CV-OOl78-Rl\/|E_j,/ECF NO. 16
§

,_a

\D 00-.} Ch¥.!l .p» w'l\.)

O\ us 41 WM ¢-' Cz \O 00 -.l m hiv-tx w N »-‘ C.'J

 

filed 10/04/18 Page|D.lB? P,age 19 of 24

IT IS FURTHER ORDERED, ADJUDED AND DECREED that loshua Stuller ehall:

l. Be placed on a partial conditional release from Eastern State Hospital to the`Spokane
area for the purpose of alcohol!drug education and ueannent, education, and
vocational training in the Spolcane area, and other pertinent relevant classes and
activities that interest and may be of benefit to him; said releases shall be at discretion
of the treatment team at Eastern State Hospital and shall only'be with the approval of
the treatment staff of Eastern State Hospital. Release is to include overnight visits in
the Spolcane area with Mr. Stuller’s parents Mr. Stuller shall continue to reside at
Eastem State Hospital underztheir care and supervision at all other times Eastem
State Hospital shall immediately refer for intensive outpatient treatment with SPARC

upon entry of this order, with placement to occur as soon as provider is able to do so.

2.v Mr. Stuller shall be allowed to go on staff escorted outings to timber assist in
additional reintegration efforts in Spol<ane County.

3. Mr. Stuller shall participate in such treatment classes as deemed beneficial and
necessary by his Eastern State Hospital treatment team.

4. Mr. Stuller shall be allowed to move within the Eastern State Hospital Campus
boundaries unescorled pursuant to the Porensic Services Unit policies and procedures.

5. Mr. Stuller shall take all medications as prescribed by a licensed physician

6. Mr. Stuller shall report immediately to the community services offices of the
Department of Correetions and remain under the supervision of a community
corrections oflicer employed by the Depaztmenl of Correetions and report to said
officer as required l 7

7. Mr. Stuller shall not possess alcoholic beverages, controlled substances, including
marijuana and non.prescribed drugs, and cooperate with scheduled and random UA
requests nom CCO and ESH 2N3 treatment team.

8. Mr. Stuller shall not possess any explosive devices or material nor any firearms or
other weapons v

9. Mr. Stuller shall not leave Washington State or travel to Chelan or Douglas Counties

without permission of the court and/or the community corrections officer.

CONDITIONAL RELEASE 2 Arroamzv omnnr.ozwasumo'ron
lllé Westli.imidc Aveoue, Suite 100
Spolcaee. WA 9920!4 lllé
esso assault

 

CaSe 2218-CV-OOl78-R|\/|P fCF NO. 16 filed 10/04/18 Pa
§ "‘a~../ l

\DOO-JG\U\J>LMN*""

NN!~._}NN»- r-\¢--- »-¢.._.
§§.e~ww»-c>-\o€€~)mm§§_wm:$

 

gelD.lBS Page 20 of 24
*~..../` v

lll. Mr. Stuller shall maintain good conduct in the community and shall not violate any
laws or ordinances of this or any other state or nmnicipal subdivision thereof
l l. M.r. Stuller shall not enter any bars, taverns or any establishments where alcohol is the

primary source of revenue

rr rs returned onnnnno, someone AND DECREED:

l Mr. Stuller shall be conditionally released from Eastern State Hospital upon successful
completion of intensive outpatient substance abuse treatment as determined by the provider, so long
as there is no deterioration in illnetioning as determined by Eastern State Hospital Treal:ment team,
and no violations of the above stated tenns and conditions of partial conditional release to reside in
King County or Snohomish County at a residence selected andfor agreed to by Eastern State
Hospital. 'l'he Hospital shall, promptly alter the entry of this Order, evaluate the appropriateness of
Mr. Stuller residing with his parents lt` the Hospital recommends against this option and
recommends the placement of Mr. Stuller in a Residenrial Treatment Facility, it shall immediately
start the placement process to prevent a delay in his release d

l. Mr. Stnller shall not change such residence without the permission of his assigned
community corrections ofEcer!Eastern State l-lospltal eonnnurdty forensic social worker,
and shall follow the house rules of said residence;

2. Mr. Stuller shall enter into mental health treatment near his residence with va mental health
prov`tder designated by Eastern State Hospital, and follow the treatment regime required by
said provider; b

3. lvlr. Stuller shall take all medications as prescribed by a licensed physician;

4. Mr_ Stuller shall maintain or be actively seeking schooling or employment/valuing

5. Mr- Stuller shall submit to urinalysis (UA) for illicit drugs as determined _by his
community corrections ocher, Eastem State l-lospital community forensic social worker,
or a community mental health professional, on an unscheduled or scheduled basis;

6. Mr. Stuller shall submit to regular testing (blood, UA, Breathalyzer} as determined by his
community corrections ofEcer, E'.astem State Hospital commimity forensic social worker
and/or treannentr'monitorlng providers on an unscheduled or scheduled basis;

7. Mr. Stuller shall have regular contact with the Eastem State Hospital community forensic
social worker throughout the duration of the reintegration process, to include submission of ‘

CGNDITIONAL RELEASE 3 A'r‘rosusv cement or wasnnto‘ror~r
t ll lé W¢s! Rs’\'ctside Avenue. Suite 100

spokane WA mold 106
noel 456.3123

 

,CaS€ 2218-CV-OOl78-R|\/|P FECF NO. 16 filed 10/04/18 Pag€|D.lBQ Page 21 Of 24

\

moo-.\o\<.h.o~wr~.\»-¢

NNNNNN»~»»-»»-‘»~vw»--»~»-».,..
womM»-‘ocooo'dchm.czmm._»o

 

N
4 0\

l€).

ll.

12.
13.

`\-"‘ w,/'

a completed Conditional Rcleaac report each 60 days or as determined by the Eastcro State
Hospital community forensic social yt.yorlt'cr;

Mr. stoner shall consent m Depmem or controlled home visits m monitor complimca
with supervision l-Iomo visits include access for the purposes of visual inspection of all
areas or"rastdence rn which Mr. stoner lives arms exclustvojomr moot/accord

Mr. Stuller will keep all appointments with and follow all treatment recommendations of
his primary care providor, or other assigned physician(s) who will monitor his medical
needs; _
Mr. Stullor will keep all appointments and follow all treatment recommendations of his
psychiatrist7 or othcr assigned psychiatl'lat monitoring his psychiatric needs; v
lvlr. Stullor will keep all appointments and follow treatment recommendations of his
treatment team including Alcoholic’s Anonymous or other deslgtatod aftercare
l:reatno.ent;v y
Mr. Stollcr will not substantially deteriorate in his routine level of functioning

Mr. Sl'uller will maintain his own health and safety `m commuth

§lr_pervision mr Communig€orrections Ot'ficer: _
14. MI. Stoller shall report immediately to the Commtmity Servlces Otllce of the Departmeni of ‘

' l$.

16.

Corrections and remain under the supervision of a community corrections officer employed
by the Dcpartmcnt of Corrcctions and report to said ofliocr as required and shall follow
explicitly the instructions of said officer and the Deparoncnt of Corrcctions shall assign a
community corrections offlcer to supervise Mr. Stuller; _

The supervising community corrections officer and the oommrmity forensic social worker

shall prepare and subrrut slx~month reports to the court, the prosecuting attorney of Chelan

_County, each other, and the Community Montal l-lealth Liaison, Special reports shall be

made immediately upon any Signiilcant deterioration of MI. Stullor’s condition or any
violation ofthc tcnns of this ordcr;

ln addition to the written reports required pursuant to RCW 10.7?.160, each of Mr.
Stullcr’s medical and mental health providers, Eastem State Hospital, and Departmcnt of

Con'ections community corrections oFBcc shall disclose to each other and to the

CONDI’['IONAL R£LEASE 4 At'roro~rsv am op watsonme

l l 18 Wesl Rlvetsldc Avcnuc, Suite md
Spokane, WA 9920 111 105
(509) 456~3\13

 

=.CaSe 2218-CV-OOl78-R|\{|PJ,Q:ECF NO. 16 filed 10/04/18 Page|D.lGO Page 22 Of 24

,.~\

\QOG~JC’\M ~P~'bl l-)

NNNN`NNN»-A»~wa»d-ww»¢,-»
osm_h.ww-zoxcoo~ao\m.hww-»c>

w
--.¢.

 

'-,r-¢“

prosecutor orally or in writing information regarding Mr. Stuller's treatment and
compliance with the teams cf his order of Conditional Release;
Restrictions ug on Condltional Release:¢ n

_ 17. Mr. Stuller shall not use or possess alcoholic beverages or controlled substances3 to

include THC (matijuana), or non-prescribed drugs;

18. Mr. Stuller shall not possess any explosive devices or hiatcdals nor any firearms or other
weapons;

19l Mr. Stuller shall not leave Washington State or travel to Chelan or Douglas Counties
without permission of the court and!or the community corrections officer;

20. Mr. Stullor shall maintain good conduct in the community and not violate any laws or
ordinances of this or any other state or any municipal subdivision thereof;

21. MI. Stuller shall not enter any bars, tavems, or any establishments where alcohol is the
primary source oftevenuc; '

22. Mr. Stuller shall abide by curfew hours designated by his community corrections officer;

23. Mr. Stuller will refrain from any threats or acts of harm to self, others, or property

24. Mr. Stullcr will abide by any No Contact Orderstrdcrs of Protection!Anti-Harassment
or Rcstraim'ng Orders issued out of any other court or jmisdiction, including but not
limited to any Municipal Courl, District Court, Superior or Foderal Court

Return to the Hosgita`l: l _

25. Should Mr. Stuller, in the judgment of his community mental health therapist, treating
physician, community corrections otiiccr, and/or Eastem State Hospital, not remain in his
current state of partial remission from the effects of his mental disease and!or exhibit
significant signs of dccompensation, he shall receive commmiity-hased mergeocy_

_, treatment as ordered by them If appropriate heatment cannot be provided in the

comnnity, he shall forthwith be returned to Eestem State Hospital for evaluation and
necessary treatment Eastem State Hospital shall report its findings and recommendations b
to the court for modification or revocation of his Conditional Release;

Emergency Arrest, Detention and Hosgitalizatlon:

26. 'Ihe community corrections officer may order M.r. Stuller apprehended and taken into
custody for hospitalization and evaluation until a hearing can be scheduled to detmnine the

CONDYHONAL RELEASE 54 Avromozv GENERAL ot wasxn~:ctoa

l l 16 West Riverside Aveuuc, Suite 190 -
spouse wa 99201-1 me
{‘509) 456-3 l23

 

aCa,S€ 2218-CV-OOl78-R|\/|P ’lECF NO. 16 filed 10/04/18 Page|D.lGl Page 23 Of 24

wm

MMNNN.-»-v-¢~» »-» »--¢
§§.nww~.o\om»oot§p$m:g

\0'. 00 -J C\ th -P~ UJ bd

 

~/

..~,,.,.r

facts. 'I'lie community corrections oflicer must have evidence that Mr. Stuller is failing to

adhere to the terms and conditions of Conditional Release or has become a substantial

danger to other persons or presents a substantial likelihood of committing criminal acts
jeopardizing public safety and security The court and the prosecuting attorney shall be
notified by seem sara naspna before ma nose of the man judicial water the

appreliension; y y

27. Should Mr. Stuller be determined to not be residing at his authorized placement the
person making that determination shall immediately notify the Forensie Services Uait
administrative secretary or the community forensic social worker.

» rr ls FURTHER onDERnD, ADJUDEI) AND DECREED that under etc authority of
RCW 71.05.340, the Chief Executive Ot’lieer of Eastem State Hospital (or her designee) shall notify
law enforcement and a DMHP for the pick~up and transport of Josliua Stuller to an evaluation and
treatment facility_for an evaluation to determine if a petition for revocation of this Order of
condemn engage is warranted `

Mr Stuller is hereby notified and advised that as an individual involuntarily committed
for treatment cfa mental disorder under RCW 71.05, you may not possess, in any manner, a firearm
as cleaned an new 9.41.010 until nn right is legally reinstated

IT IS FURTHER ORDERED, ADJ'UDGED AND DECREED that the Sherit’f of
Spokane County or other residing county or any Peaee Ofticer shall, in the case of the defendant
escaping from the evaluation and treatment facility named herein, apprehend, detain and realm the

defendant to said evaluation and treatment facility the County Designated Mental Health

Professioual may designate 7

IT IS FURTHER ORDERED, ADJUDGED AND DECR}§ED that should defendant be
committed to aaatmwasem state `Hosptal and mseqnanay, require medical wmata
defendant may be transferred as an involuntary patient to an area medical facility Following
discharge defendant will be transferred to Eastem State Hospital. Defense counsel and Conununity
Mental Healtb. Center will be notified ofthe change in status on the next business day_

CQNDLTIONAL RELEAS§ 5 t m‘roam~:~r am or wasmx~t<:v'rot~l
` 1116 Wc$t Ri¥:t$£d¢ Avem:c. Suite 100
Spokanc. WA 992£*l'l lt}B
($B.‘}} 456-3123

 

10
11
12
13
14
15
16
17
18
'19
20
21
22
23
24
25
26

woo~.zc:n(h_.x>ww

' " §.¢~'e-""

Case 2:1 -' - - 5 ` ' 7
8 CV 00178 RYB ECF_NO. 16 f|l€d 10/04/18 EB.Q€|D.].GZ PB_Q€ 24 Of 24

I'I` IS FUR'I`HER ORDER.ED, ADJUDGED AND DECREEI} that Eastem State
Hospita§ shall drunediately'upon entry of this order fulfill the notice requirements of RCW 1037 by
wanting required amos in spokan¢, long, and snohomsh'counu§ of an aspech owns order
and Mr. Stuller’s pending release. The mandatory waiting period prior to release is to occur only
once; there shall not bo an additional waiting period between the pmtial conditional release and full
conditional release 7¥'

DATED this l ij day ofDecember, 2017.

 
 

Presented by

___/S/Andr€w Bivz`ana
Andrew Biviano, WSBA 380 6
Attome for Dofend » -

    

~a
1

wm W“./
ApprovedastoFonn: WU\/A$ A” b 15 'M/;_' yf;,{£g!/ lp¢?"?.l{/§

M.w ~ . 4
WM, ab m I‘LM f,- wali .'Ff'\/#%V’WWM /
lamoy Mirml:?an,&‘:;:£iw%% IJ\}(.‘> n'f?/ £;IFM£’§MN{MW _
Ass1stant Attorney Generai ~ umw v ~ WWU{/ §L§WJP,

 

 

ND \yAL RELEAS§ 7 k wrosz cessna op w.a.sHmG'rc)N`
CO mo‘ - ma was aimw mm sum soo
Spoka:ac. W)’& 9920 !-l 106
' (509; 456.3123

 

